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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 22-20104-cr-MARTINEZ

UNITED STATES OF AMERICA,
VS.

RODOLPHE JAAR,

JOSEPH JOEL JOHN,

JOSEPH VINCENT,

GERMAN ALEJANDRO RIVERA GARCIA,
MARIO ANTONIO PALACIOS PALACIOS, and
FREDERICK JOSEPH BERGMANN, Jr.

Defendants.
/

ORDER VACATING RESTITUTION HEARING
AND ORDERING UNITED STATES TO FILE STATUS REPORT
OR JOINT MOTION FOR RESTITUTION

THIS CAUSE came before the Court upon the parties’ Joint Motion for Court Order
Vacating the Restitution Hearing in this matter on May 21, 2024. After reviewing the motion, it
is hereby:

ORDERED AND ADJUDGED that the Motion to Vacate the Restitution Hearing is
GRANTED. The United States shall file a status report or Joint Motion for Agreed Upon
Restitution by the close of business on May 24, 2024.

DONE AND ORDERED in Chambers at Miami, Florida, this go day of May 2024.

CV. If

HONORABLE JOSE E. MARTINEZ
UNITEDSTATES DISTRICT JUDGE

Copies provided to:
All Counsel of Record

